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                   IN THE UNITED STATES DISTRICT COURT
15               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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     BECTON, DICKINSON AND                  Case No. 21-cv-01173-CAB-NLS
17   COMPANY, SIRIGEN, INC., and
18   SIRIGEN II LIMITED,                    DEFENDANT BECKMAN
                                            COULTER, INC.’S RESPONSE TO
19                      Plaintiffs,         PLAINTIFFS’ EX PARTE MOTION
20                                          TO ENFORCE ORDER
     v.                                     RE: CLAIM NARROWING
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22   BECKMAN COULTER, INC.,

23                      Defendant.
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                                           Case No. 21-cv-1173-CAB-NLS
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 1         Plaintiffs’ Ex Parte Motion to Enforce Order Re: Claim Narrowing seeks to
 2   compel Beckman to comply with an Order that Beckman has already complied with,
 3   by doing what Beckman has already done. The Court’s Order required Beckman to
 4   “serve a designation of its responsive obviousness prior art combinations, not to
 5   exceed 20 combinations.” ECF No. 106. Beckman served a designation of 17
 6   obviousness prior art combinations. Plaintiffs nevertheless accuse Beckman of
 7   “flout[ing]” this Court’s Order by including “a large number of references (i.e., five or
 8   more references)” in some of those combinations. ECF No. 134 (“Mot.”) at 2, 5. The
 9   Order, however, was silent about the number of references per combination, and the
10   entirety of Plaintiffs’ Motion is founded on the theoretical possibility that, someday,
11   Beckman might seek to narrow its combinations to fewer references, and that if it did,
12   this would amount to relying on a previously undisclosed combination. Beckman has
13   not done that nor sought to do that. Its contentions disclose fewer than the permitted
14   number of combinations, and they describe in detail how those combinations render
15   each of the asserted claims obvious. The theoretical questions of whether, under what
16   circumstances, or in what ways Beckman might in the future be permitted to change
17   those combinations is neither concretely defined nor ripe for decision. And Plaintiffs
18   certainly have come nowhere near a showing that Beckman’s disclosed contentions
19   are improper or a violation of this Court’s Order. Plaintiffs’ Ex Parte Motion should
20   be denied.
21         As this Court will recall, the genesis of the Court’s Order Re: Claim Narrowing
22   was Beckman’s request for a status conference to address Plaintiffs’ assertion of 301
23   claims of 13 patents. ECF No. 101. Given that Beckman has only three closely
24   related polymer dyes on the market, and sales of those accused dyes have been
25   “limited,” ECF No. 43-1 at 23, one might expect that this case could be litigated
26   efficiently. Yet Plaintiffs’ approach consistently has been to make this case sprawling
27   and litigious. Even now that the list of claims has been narrowed, Plaintiffs have
28   accused almost one thousand different compounds of infringement—any allegedly
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 1   infringing compound that they can identify in a laboratory notebook as having been
 2   made at some point, see ECF No. 126 at 12–13—and have launched a steady stream
 3   of discovery disputes. Plaintiffs’ tit-for-tat Ex Parte Motion is in the same vein. In
 4   response to Beckman’s complaint that the number of claims in the case was excessive,
 5   Plaintiffs requested, and the Court ordered, that Beckman’s obviousness combinations
 6   be limited in number. Beckman complied with that Order. Plaintiffs now conjure a
 7   dispute to suggest Beckman is engaging in sharp practices, but Beckman is not doing
 8   any such thing.
 9         Unsurprisingly in a case that also has strong anticipation defenses, see ECF No.
10   43-1 at 6–10, Beckman’s invalidity contentions included four two-reference
11   obviousness combinations and three more three-reference combinations, Mot. Ex. A at
12   58–60. Plaintiffs’ motion focuses on several additional combinations that include a
13   greater number of references. In particular, Plaintiffs highlight Beckman’s third
14   combination, which lists a total of twelve references. Mot. at 2–3. Plaintiffs
15   misleadingly quote Beckman’s initial invalidity contentions—from before the Court’s
16   narrowing Order—to suggest that Beckman is disclosing prior art references in
17   “groups” linked with “and/or.” Id. at 1. Then, relying on cases that distinguish a
18   combination of A+B+C from a combination of A+B, Plaintiffs calculate the
19   astronomical-sounding number of different combinations that Beckman could make, if
20   it arbitrarily selected a handful of references from a disclosed combination. Id. at 3.
21   But Beckman has not done that and does not seek to do that. Rather, Beckman has
22   unambiguously disclosed seventeen and only seventeen combinations, each of which
23   lists a specific set of references linked with “and.” Mot. Ex. A at 58–60.
24         Contrary to Plaintiffs’ accusations, some of Beckman’s combinations rely on a
25   larger number of references because Beckman intends to rely on those references.
26   Beckman’s larger combinations are not intended as a smorgasbord from which it will
27   eventually draw additional narrow combinations. Rather, Beckman has a story to tell
28   the jury about the ubiquity of the features of the claimed invention. That is, one
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 1   aspect of the obviousness theories that Beckman has disclosed is that the purportedly
 2   novel features of Plaintiffs’ claimed invention were commonplace in the art and can
 3   be found in reference after reference.
 4         For example, the only purported distinction that Plaintiffs have alleged between
 5   the claimed invention and the Gaylord reference (which was addressed during
 6   preliminary injunction proceedings and remains a lead anticipation and obviousness
 7   reference) is the use of a non-ionic chemical structure to impart water solubility.
 8   Looking to the combination on which Plaintiffs focus, the Kuroda 2002, Kim 2005,
 9   Sumranjit 2007, and Xue 2009 references all disclose this feature, and Beckman is
10   entitled to explain to the jury—even if through an expert and in summary form—that
11   an entire pile of references teaches the feature. Similarly, the Haugland 1995,
12   Haugland 2000, Hoffman 2007, Gauthier 2008, Canalle 2009, Gordon 1999, and Lou
13   2007 references teach the conjugation of polymer dyes to biomolecules such as
14   antibodies—another area in which Plaintiffs may contend that they invented
15   something—and again, the gravamen of this combination is that these techniques were
16   widespread and old hat.
17         There is no mystery about any of this; it is what Beckman’s disclosures and
18   accompanying charts say. The central proposition of Plaintiffs’ motion—that
19   Beckman’s contentions “keep an unmanageable number of obviousness combinations
20   in play and obscure from Plaintiffs the theories that Beckman will actually pursue,”
21   Mot. at 4—is simply wrong. And there is no basis for Plaintiffs to use the Court’s
22   narrowing order to bar Beckman from telling the invalidity story it has properly
23   disclosed and seeks to tell. Plaintiffs’ cases, in which courts have stricken undisclosed
24   combinations (much later in a litigation) purportedly drawn from more complicated
25   ones, are inapposite, because they address a situation that has not arisen. See Mot. at 3
26   (citing Finjan, Inc. v. Proofpoint, Inc., No. 13-cv-05808-HSG, U.S. Dist. LEXIS
27   171627, at *4 (N.D. Cal. Dec. 23, 2015), and Altera Corp. v. PACT XPP Tech., AG,
28   No. 14-cv-02868-JD, 2015 U.S. Dist. LEXIS 80703, at *8–9 (N.D. Cal. June 19,
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 1   2015)). Put simply, the relief Plaintiffs now seek—that Beckman disclose fewer than
 2   20 combinations—is what Beckman already has done.
 3         The presence of reservation-of-rights language in Beckman’s contentions—
 4   stating that Beckman reserves the right to drop references (or for that matter,
 5   combinations)—does not change this calculus. Even if, at trial, Beckman were to
 6   make a decision that it does not need to put on evidence about a reference that is in the
 7   pile, there would be no conceivable prejudice to Plaintiffs. But this is entirely
 8   hypothetical in any event. Beckman has not dropped anything or sought to alter its
 9   disclosed combinations, and it is premature for Plaintiffs to litigate when or whether it
10   should be permitted to do so in a particular situation.1
11         Plaintiffs’ motion should be denied.
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22    Plaintiffs’ complaints about other aspects of Beckman’s contentions are even farther
     afield from any current dispute. Plaintiffs criticize Beckman, for example, for not
23   deleting from its contentions information that discusses other prior art references,
24   Mot. at 4, but the selection of references in Beckman’s § 103 obviousness
     combinations (which are in any event not the only disclosed invalidity defenses)
25   speaks for itself. Likewise, Beckman has disclosed that it might rely on the
26   “knowledge of the POSA”—i.e., its experts’ testimony about what would be common
     knowledge—but this is not a reference, much less an undisclosed obviousness ground.
27   None of these disclosures is a back-door attempt to expand on Beckman’s
28   obviousness combinations, and none presents a basis for Plaintiffs’ accusations.

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